Case 3:16-cv-08523-FLW-TJB Document 18 Filed 11/30/17 Page 1 of 2 PageID: 95



Gregg A. Paradise
Aaron S. Eckenthal
LERNER, DAVID, LITTENBERG,
 KRUMHOLZ & MENTLIK, LLP
600 South Avenue West
Westfield, NJ 07090-1497
Tel: 908.654.5000
Fax: 908.654.7866

Attorneys for Defendant Reflections
 Center for Skin and Body, PC

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

NEW REFLECTIONS PLASTIC SURGERY,                       :
LLC,                                                   :   Civil Action No. 16-8523-FLW-TJB
                                                       :
                               Plaintiff,              :   Freda L. Wolfson, U.S.D.J.
         v.                                            :   Tonianne J. Bongiovanni, U.S.M.J.
                                                       :
REFLECTIONS CENTER FOR SKIN AND                        :
BODY, PC,                                              :
                                                       :
                               Defendant.              :
                                                       x

                                 STIPULATION AND ORDER
         New Reflections Plastic Surgery (“Plaintiff”) and Reflections Center for Skin and Body, PC

(“Defendant”), (collectively “The Parties”), by and through their respective counsel, stipulate to

extend the close of fact discovery. Plaintiff and Defendant have each served a subpoena on third-

party witnesses and additional time is needed to schedule those depositions. Fact discovery was

previously extended once and is currently scheduled to close on November 30, 2017. Therefore, The

Parties respectfully request a second extension of fact discovery to January 31, 2017 so that The

Parties may each complete the depositions under their respective subpoenas. The Parties thank the

Court in advance for its courtesy and remain available for the telephonic status conference currently




5228065_1.docx
Case 3:16-cv-08523-FLW-TJB Document 18 Filed 11/30/17 Page 2 of 2 PageID: 96



scheduled for December 6, 2017, should the Court wish to proceed with that previously scheduled

conference.

MEREDITH & KEYHANI, PLLC                          LERNER, DAVID, LITTENBERG,
Attorneys for Plaintiff New Reflections Plastic    KRUMHOLZ & MENTLIK, LLP
Surgery LLC                                       Attorneys for Defendant Reflections Center for
125 Park Avenue, 25th Floor                       Skin and Body, PC
New York, NY 10017                                600 South Avenue West
                                                  Westfield, NJ 07090-1497

By       s/ Dariush Keyhani                       By      s/ Aaron S. Eckenthal
     Dariush Keyhani                                   Aaron S. Eckenthal
     Tel:     212.760.0098                             Tel:      908.654.5000
     E-mail: dkeyhani@meredithkeyhani.com              E-mail: aeckenthal@lernerdavid.com
                                                                 litigation@lernerdavid.com


Dated:           November 30, 2017                Dated:          November 30, 2017




SO ORDERED:


Dated:
         Trenton, New Jersey                           Tonianne J. Bongiovanni
                                                       United States Magistrate Judge




5228065_1.docx                                    2
